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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 SELINA MARIE RAMIREZ, individually            §
 and as Independent Administrator of, and      §
 on behalf of, the Estate of Gabriel Eduardo   §
 Olivas and the heirs-at-law of parent,        §
 guardian and next friend of and for female    §
 minor S.M.O.; and GABRIEL                     §
 ANTHONY OLIVAS, individually,                 §
                                               §
                 Plaintiffs,                   §
                                               §
 v.                                            §      Civil Action No. 3:19-CV-1529-L
                                               §
 CITY OF ARLINGTON, TEAS;                      §
 JEREMIAS GUADARRAMA; and                      §
 EBONY N. JEFFERSON,                           §
                                               §
                  Defendants.                  §

                                           ORDER

        Before the court are Defendant City of Arlington’s Motion to Dismiss Under Rule 12(b)(6)

(Doc. 9), filed July 17, 2019; Defendant Ebony N. Jefferson’s Motion to Dismiss (Doc. 13), filed

July 26, 2019; and Defendant Guadarrama’s Motion to Dismiss (Doc. 16), filed July 26, 2019. On

August 7, 2019 Plaintiffs filed their First Amended Plaintiffs’ Original Complaint (“Amended

Complaint”) (Doc. 19), which is the live pleading and supersedes Plaintiffs’ Original Complaint,

filed June 25, 2019. Therefore, the court denies as moot Defendant City of Arlington’s Motion

to Dismiss Under Rule 12(b)(6) (Doc. 9), filed July 17, 2019; Defendant Ebony N. Jefferson’s

Motion to Dismiss (Doc. 13), filed July 26, 2019; and Defendant Guadarrama’s Motion to Dismiss

(Doc. 16), filed July 26, 2019.




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       It is so ordered this 27th day of August, 2019.




                                                   _________________________________
                                                   Sam A. Lindsay
                                                   United States District Judge




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